        Case 1:21-cv-00755-MKB-RER Document 29 Filed 04/04/22 Page 1 of 1 PageID #: 293
 AO 85A (Rev. 02/17) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Eastern District
                                                       __________        of New
                                                                   District      York
                                                                            of __________
                    INESSA KLIMOVITSKY
                                                                              )
                               Plaintiff                                      )                           21-CV-755
                                   v.                                         )       Civil Action No.
        JG INNOVATIVE INDUSTRIES, INC., et al.
                                                                              )
                              Defendant                                       )

     NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).

                                Motion for approval of the parties’ FLSA settlement agreement, and
                   Motions:
                                dismissal of the plaintiff’s FLSA and NYLL claims with prejudice
                                per Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir. 2015).



      Printed names of parties and attorneys                              Signatures of parties     attorneys                           Dates
Inessa Klimovitsky, Plaintiff
By Jonathan Shalom, Esq.
                                                                         Jonathan Shalom                                           April 4, 2022


All Defendants
By Nils Shillito, Esq.                                                                                                             March 29, 2022

                                                                   Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


Date:
                                                                                                         District Judge’s signature



                                                                                                          Printed name and title

Note:      Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
           magistrate judge. Do not return this form to a judge.
